     CASE 0:07-cr-00212-PJS-JSM Document 660 Filed 05/07/20 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

______________________________________________________________________________
UNITED STATES OF AMERICA,                         Case No. 07‐CR‐0212 (PJS/JSM)

                               Plaintiff,
      v.
                                                              ORDER
MICHAEL FIORITO,

                             Defendant.


      This matter is before the Court on the government’s third motion for an

extension of time to respond to defendant’s motion for compassionate release. ECF No.

659. The government seeks an extension until May 22, 2020 to submit a consolidated

response to defendant’s original motion and to his second motion filed on May 4, 2020.

      Based upon all the files, records and proceedings herein, IT IS HEREBY

ORDERED that:

      1.     The government’s Motion for Continuance [ECF No. 658] is GRANTED.

      2.     The government must file a consolidated response to the defendant’s two

             motions for compassionate release no later than May 22, 2020. No further

             extensions will be granted.


Dated: May 7, 2020                           s/Patrick J. Schiltz
                                            Patrick J. Schiltz
                                            United States District Judge
